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     MITCHELL REED SUSSMAN # 75107
 1
     1053 S. PALM CANYON DR.
 2
     PALM SPRINGS, CA. 92264
     Phone ( 760 ) 325 - 7191
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 4
     Attorney for plaintiff
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 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10   MITCHELL REED SUSSMAN,          ) Case No. 5-18-cv-1176
                                     )
11
              Plaintiff,             ) COMPLAINT FOR DECLARATORY
                                     ) RELIEF
12                                   )
          vs.                        )
13                                   )
                                     )
14   SOLEIL MANAGEMENT, LLC, CLUB DE )
     SOLEIL VACATION CLUB,TAHITI     )
15
     VILLAGE VACTION CLUB,           )
                                     )
16                                   )
              Defendant.             )
17   _______________________________

18

19        For its complaint, plaintiff alleges as follows:

20

21                               PARTY ALLEGATIONS

22        1. Plaintiff, Mitchell Reed Sussman (“Sussman”), is an

23           attorney at law practicing in the state of California with

24           offices in Palm Springs, California engaged in the

25           business of timeshare cancellation and relief.

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 1       2. At all relevant times plaintiff is the owner and operator
 2          of a website www.timesharelegalaction.com.
 3       3. Defendant, Soleil Management, LLC (“Soleil”) is a Nevada
 4          limited liability company.
 5       4. Defendant, Club De Soleil Vacation Club (“Soleil Club”) is
 6          a Nevada Non – Profit Corporation.
 7       5. Defendant, Tahiti Village Vacation Club(“Tahiti Club”) is
 8          a Nevada Non – Profit Corporation.
 9

10                         JURISIDCTION AND VENUE ALLEGATIONS
11       6. This action is brought under the Federal Declaratory
12          Judgment Act     28 United States Code §2201 - 2202.
13       7. This Court has jurisdiction over the subject matter of
14          this action because declaratory relief actions are
15          permitted in federal court to establish a plaintiff’s non
16          – liability on matters that raise a federal questions as
17          well as in diversity actions.
18       8. The plaintiff and defendants in this action are diverse,
19          moreover this complaint raises a federal question under
20          the Lanham Act.
21       9. Venue in this forum, the Central District of California,
22          is proper pursuant to Title 28, United States Code
23          §1391(b), because a substantial part of the events or
24          omissions on which Plaintiffs’ claims are based occurred
25          in this District, including the creation and maintenance
26          of plaintiff’s website.
27

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 1                              PRELIMINARY ALLEGATIONS
 2       10.At all relevant times Soleil is in the business of
 3          marketing, selling, financing and administering time –
 4          share products regulated by the state of California Bureau
 5          of Real Estate.
 6       11.According to its website www.soleilmanagement.com, “Soleil
 7          Management offers the full spectrum of services required
 8          in the operation of vacation ownership resorts. We are
 9          able to customize our services based on each resort’s
10          unique requirements.”
11       12.Soleil manages time – share properties in the states of
12          Nevada, Florida, Hawaii and California.
13       13.The California Bureau of Real Estate (CalBRE) administers
14          and enforces the laws governing the sale of subdivided
15          lots and common interest developments, including
16          condominiums and planned developments, it also administers
17          and enforces laws governing the sale of time-share
18          interests.
19       14.Time-share interests in any time-share project, also known
20          as a time-share plan, to be sold in California, whether
21          the time-share plan is located in California or in any
22          other state in the United States or in a foreign country,
23          are subject to regulation under The Vacation Ownership and
24          Time-share Act of 2004 (“Act”).
25       15.Before a developer may market or sell time-share interests
26          in a time-share plan in California, the developer must
27

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 1          obtain a public report issued by the CalBRE which
 2          discloses many important aspects of the time-share
 3          offering. That public report must be presented to
 4          prospective purchasers before purchase so they have an
 5          opportunity to read it before making a purchase decision.
 6          The developer, or its licensed sales agent, must also give
 7          the purchaser a receipt to be signed indicating that the
 8          purchaser received and read the public report. As required
 9          by law, attached to the face page of the public report is
10          a notice explaining to the purchaser how he or she may
11          cancel the purchase and have all purchase monies returned
12          if cancellation is properly requested within seven
13          calendar days.
14       16.Defendants operate a multisite time-share plan in which
15          the purchaser of a      "nonspecific time-share interest," (
16          as more fully defined in California Business and
17          Professions Code 11212 (z)(2)(B)), which is the right to
18          use accommodations at more than one component site created
19          by or acquired through the time-share plan's reservation
20          system, but including no specific right to use any
21          particular accommodations.
22       17.At all relevant times defendants’ market and sell vacation
23          ownership programs at a variety of locations throughout
24          the state of California, including within this district.
25       18.At all relevant times defendants operated in the state of
26          California as vacation ownership program regulated by the
27

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 1             Vacation Ownership and Time – Share Act of 2004 (
 2             hereinafter “Act”) insofar as they offer for lease or sale
 3             one of more of the following products: (a) Time-share
 4             plans with at least one accommodation or component site in
 5             California; (b) Time-share plans without an accommodation
 6             or component site in California, if those time-share plans
 7             are sold or offered to be sold to any individual located
 8             within California; (c) an “exchange program” as more fully
 9             defined by Business & Profession Code 11212(l).
10       19.At all relevant times defendants are time – shares subject
11             to the laws of the state of California regulated by CalBRE
12             and subject to the “Act”.
13

14                            FIRST CAUSE OF ACTION
15                           ( Declaratory Relief )
16                  ( Non – Liability under the Lanham Act )
17       20.Plaintiff hereby refers to and incorporates by reference
18             paragraphs 1 – 20, inclusive, as though the same were more
19             fully set forth at this point.
20       21.On or about May 22, 2018, plaintiff received a letter from
21             the law office Hutchison &      Steffen stating, inter alia,
22             that the representations set forth on plaintiff’s website
23             violate the Lanham Act 15 USC 1125 (a)(1).
24       22.    An actual controversy has arisen and now exists between
25             plaintiff and defendants in that plaintiff contends that
26             (1) his legal website is not considered advertising under
27

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 1             the Lanham Act and (2) the statements and information
 2             contained on said website are not false.
 3       23.Defendant’s dispute these contentions and contend that
 4             plaintiff’s website (1) is considered advertising under
 5             the Lanham Act and (2) the statements and information
 6             contained on said website are false.
 7       24.    A judicial declaration is necessary and appropriate at
 8             this time under the circumstances in order that plaintiff
 9             and defendants may ascertain their rights and duties under
10             the Lanham Act.
11

12                            SECOND CAUSE OF ACTION
13                               ( Declaratory Relief )
14                          ( Non – Liability under Rico )
15       25.Cross-Complainant hereby refers to and incorporates by
16             reference paragraphs 1 – 24, inclusive, as though the same
17             were more fully set forth at this point.
18       26.On or about May 22, 2018, plaintiff received a letter from
19             the law office Hutchison &      Steffen stating, inter alia,
20             that plaintiff’s conduct in representing his clients in
21             connection with their desire to be free of their time-
22             share contracts violates the Federal Rico Act.
23       27.    An actual controversy has arisen and now exists between
24             plaintiff and defendants in that plaintiff contends that
25             (1) he is privileged to represent his client’s in
26             connection with their desire to be free of their time-
27

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 1             share contracts   and (2) the statements and information
 2             supplied to time – share owners wishing to be free of
 3             their time – share contract are not false.
 4       28.Defendant’s dispute these contentions and contend that
 5             plaintiff’s conduct in representing his client’s (1) is
 6             not privileged and (2) the statements and information
 7             supplied to time – share owners wishing to be free of
 8             their time – share contract are not false.
 9       29.    A judicial declaration is necessary and appropriate at
10             this time under the circumstances in order that plaintiff
11             and defendants may ascertain their rights and duties under
12             the Federal Rico Act.
13                            THIRD CAUSE OF ACTION
14                               ( Declaratory Relief )
15       ( Application of California’s Time – Share Act of 2004         )
16       30.Cross-Complainant hereby refers to and incorporates by
17             reference paragraphs 1 – 29, inclusive, as though the same
18             were more fully set forth at this point.
19       31. Plaintiff is informed and believes and thereon alleges
20             that the defendants are not registered with the CalBRE.
21       32.An actual controversy has arisen and now exists between
22             plaintiff and defendants in that plaintiff contends that
23             (1) defendant’s cannot operate within this state without
24             registering the CalBRE.
25       33.Defendant’s dispute these contentions and contend thatthey
26             are not required to register with the CalBRE.
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 1        34.    A judicial declaration is necessary and appropriate at
 2              this time under the circumstances in order that plaintiff
 3              and defendants may ascertain their rights and duties under
 4              The Vacation Ownership and Time-share Act of 2004 (“Act”).
 5

 6        WHEREFORE, plaintiff prays judgment as follows:
 7                             First Cause of Action
 8        1. For a declaration that plaintiff’s website is not
 9           advertising under the Lanham Act and that the statements
10           made therein are not false.
11                            Second Cause of Action
12        1. For a declaration that plaintiff’s representation of
13           clients who wish to be free of their time – shares is not a
14           violation of the Federal Rico statute.
15                             Third Cause of Action
16        1. For a declaration that defendants are in violation of
17           California’s Vacation & Timeshare Act of 2004 and are
18           required to register with the CalBRE.
19

20                              All Causes of Action
21        1. For costs of fees.
22        2. For such other and further relief as is proper and just.
23   DATED: May 31, 2018           _/s/ Mitchell Reed Sussman
24                                   Mitchell Reed Sussman
25

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                         COMPLAINT FOR DECLARATORY RELIEF
